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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                       :
DAMIEN D. GRAHAM
                                       :

     v.                                :   Civil Action No. DKC 19-0150
                                           Criminal Case No. DKC 17-0085
                                       :
UNITED STATES OF AMERICA
                                       :

                             MEMORANDUM OPINION

     Damien D. Graham, Petitioner, pleaded guilty pursuant to a

plea agreement and received a 132-month sentence, consisting of 48

months for conspiracy to interfere with interstate commerce by

robbery (Count One), and a consecutive term of 84 months for

brandishing a firearm during and in relation to a crime of violence

(Count Seven).      In the wake of Johnson v. United States, 135 S.Ct.

2552 (2015), and United States v. Davis, 139 S.Ct. 2319 (2019), he

seeks relief pursuant to 28 U.S.C. § 2255.                Specifically, he

contends that his conviction on Count Seven must be vacated because

the predicate “crime of violence” was conspiracy, which no longer

qualifies.      He seeks resentencing on Count One.1         The Government

contends that, despite the conviction in Count One for conspiracy,

the predicate for Count Seven was robbery in Count Six, which

continues to qualify as a crime of violence.


     1 The original sentence on Count One was significantly below
the guidelines. Indeed, the entire 132-month sentence would fall
within the guidelines for count one alone.
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     Count Seven reads:

             On or about July 10, 2016, in the District of
             Maryland, the defendants, Andre R. Brown, and
             Damien D. Graham, did knowingly, intentionally
             and unlawfully (1) use, carry, and brandish a
             firearm during and in relation to, and (2)
             possess and brandish a firearm in furtherance
             of, a crime of violence, for which they may be
             prosecuted in a court of the United States, to
             wit: unlawfully obstructing, delaying, and
             affecting commerce by robbery, in violation of
             18 U.S.C. § 1951, as set forth in Count Six of
             this Indictment, which is incorporated here.

     When the plea agreement was typed, however, it recited the

elements of Count Seven incorrectly by referring to “Interference

with Interstate Commerce by Robbery, as charged in Count One of

the Indictment.”       The mistake was read by the judge2 at the Rule

11 proceeding.      Petitioner now claims that the conviction on Count

Seven cannot stand in light of that error.

     The Judgment Order recites that Petitioner was convicted of

Count Seven, which referred to Count Six as the predicate crime of

violence.      Petitioner is not arguing that his plea should be

vacated because he was misadvised as to the elements.             Rather, he

is arguing that the only remedy is to vacate the conviction because

it was actually based on a non-crime of violence, to wit the




     2 At the time, the case was assigned to another member of this
court. It was reassigned to the undersigned after the plea, but
before sentencing.
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conspiracy.    To the contrary, there is no ambiguity in this record

and the conviction on Count Seven will stand.

       The indictment contained seven counts, charging Petitioner

with three robberies between May 23, 2016, and July 10, 2016.

Count One was the conspiracy that encompassed the three robberies.

Count Two was a robbery on May 23, 2016, with the firearm charge

related to that robbery in Count Three.             Count Four was a robbery

on June 27, 2016, with the firearm charge related to that count in

Count Five.     Count Six was the robbery on July 10, 2016, with the

firearm charge related to that count in Count Seven.               Petitioner

admitted to all three robberies (as well as an additional robbery

on July 2, 2016) and the brandishing of a firearm in three of the

robberies as part of his plea.

       A conviction on an 18 U.S.C. § 924(c) charge can stand without

a conviction on the underlying offense.             United States v. Crump,

120 F.3d 462, 466 (4th Cir. 1997).           Indeed, such a conviction can

stand even if a defendant is acquitted on the predicate crime of

violence.     United States v. Hopkins, 310 F.3d 145, 152-53 (4th

Cir. 2002).    Furthermore, a guilty plea is an admission to all the

material elements of the crime.       United States v. Nelson, 484 F.3d

257,   261   (4th   Cir.   2007).    Thus,     it   was   not   necessary   for

Petitioner to be convicted of the underlying crime of violence in

Count Six to sustain his conviction on Count Seven.


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       The description of the predicate crime of violence was solely

“interference with interstate commerce by robbery.”                  The only

error was to state that the predicate crime was contained in Count

One.    This did not create an “ambiguity” as to what the predicate

crime was in his admission to guilt on Count Seven.                 Petitioner

relies on cases that arose in different circumstances, such as a

§   924(c)    charge     containing   multiple,    alternative      predicate

offenses.     See United States v. Vann, 660 F.3d 771, 774 n. 4 (4th

Cir. 2011).    Similarly, In re Gomez, 830 F.3d 1225, 1227 (11th Cir.

2016), does not help Petitioner.             There, the indictment listed

several possible predicate offenses in a single § 924(c) offense,

and there was a general verdict of guilty.         Finally, United States

v. Lettiere, 2018 WL 3429927 (D.Mont. July 16, 2018) arose in the

Ninth Circuit and dealt with the distinction between robbery and

extortion for a Hobbs Act violation.

       As noted above, Petitioner is not challenging his plea.               A

plea    agreement   is    assessed    under   normal   rules   of    contract

interpretation.      United States v. Dawson, 587 F.3d 640, 645 (4th

Cir. 2009)(citing Santobello v. New York, 404 U.S. 257 (1971) and

United States v. Peglera, 33 F.3d 412 (4th Cir. 1994)).                   For

example, Perez v. United States, 2014 WL 12644293, at *6 (S.D.Tex.

Sept. 12, 2014), discusses the concept of “ambiguity” due to

typographical errors:


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    Defendant’s      reference      to      ambiguity
    necessitates a brief discussion on the
    interpretation of plea agreements.           When
    construing plea agreements, the Fifth Circuit
    applies    normal   principles      of   contract
    interpretation. [United States v. McKinney,
    406   F.3d   744,   746    (5th    Cir.   2005)].
    Consistent with the principles of contract
    interpretation,    any   ambiguities      in   an
    agreement must be construed against the
    Government as the drafter. United States v.
    Farias, 469 F.3d 393, 397 (5th Cir. 2006). “A
    contract is ambiguous ‘if its plain language
    is amenable to more than one reasonable
    interpretation.’” Horn v. State Farm Lloyds,
    703 F.3d 735, 738 (5th Cir. 2012) (quoting
    Nautilus Ins. Co. v. Country Oaks Apts., Ltd.,
    566 F.3d 452, 455 (5th Cir. 2009)).

    That said, ambiguity must not be read into an
    agreement in which none readily manifests
    itself. United States v. Rodriguez–Estrada,
    741 F.3d 648, 650 (5th Cir. 2014). The same
    principle applies where an agreement contains
    a typographical error. See Doe v. Tex. Ass’n
    of School Boards, Inc., 283 S.W.3d 451, 460–
    61 (Tex. App. 2009) (holding that agreement
    was not ambiguous because the singular term
    “incident” was a mere typographical error).
    Generally, typographical errors will “yield to
    the well-established doctrine that written
    contracts will be construed according to the
    intention of the parties, notwithstanding
    errors and omissions, by perusing the entire
    document[,] and to this end, words, names, and
    phrases obviously intended may be supplied.”
    Ussery Invs. v. Canon & Carpenter, Inc., 663
    S.W.2d 591, 593 (Tex. App. 1983). Indeed, to
    ascertain the parties’ true intentions, courts
    “must examine and consider the entire writing
    in an effort to harmonize and give effect to
    all the provisions of the contract so that
    none will be rendered meaningless.”       J.M.
    Davidson, Inc. v. Webster, 128 S.W.3d 223, 229
    (Tex. 2003).


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        This record does not show any ambiguity in the nature of the

predicate offense for the § 924(c) conviction.                Accordingly, while

the motion to supplement will be granted, the motion to vacate, as

supplemented, will be denied.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. § 2255, the court is also required to issue or

deny a certificate of appealability when it enters a final order

adverse to the applicant.           A certificate of appealability is a

“jurisdictional      prerequisite”     to       an   appeal   from   the   court’s

earlier order.       United States v. Hadden, 475 F.3d 652, 659 (4th

Cir. 2007).     A certificate of appealability may issue “only if the

applicant has made a substantial showing of the denial of a

constitutional right.”        28 U.S.C. § 2253(c)(2).           Where the court

denies a petitioner’s motion on its merits, a petitioner satisfies

this standard by demonstrating that reasonable jurists would find

the court’s assessment of the claim debatable or wrong.                    Slack v.

McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell,

537 U.S. 322, 336–38 (2003).        Upon review of the record, the court

finds    that   Petitioner    has   not     satisfied     the   above   standard.

Accordingly, a certificate of appealability will not issue.


                                               /s/
                                     DEBORAH K. CHASANOW
                                     United States District Judge



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